        Case 1:22-cr-00123-RDM Document 16 Filed 05/20/22 Page 1 of 9


                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                       555   Fourth      N.ll.
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                                                      Il/ashington.    D.C. 20530




                                                      March 31,2022
                                                     (revised April 30, 2022 to incl. criminal case
Heather Shaner                                       nurnber)
1702 S. Street SW
Washington, DC 20009

                       Re:    United States v. J effrey L. Munger
                              Criminal Case No. l:22-mj-62
                                                    l:22-cr-123
Dear Ms. Shaner:

         This letter sets forth the full and complete plea offer to your client, Jeffrey L. Munger
(hereinafter referred to as "your client" or "defendant"), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as "the Government" or "this
Office"). This plea offer expires on April 13,2022. If your client accepts the terms and conditions
of this offer, please have your client execute this document in the space provided below. Upon
receipt of the executed document, this letter will become the Plea Agreement (hereinafter referred
to as "this Agreement"). The terms of the offer are as follows:

        L      Charges and Statutorv Penalties

       Your client agrees to plead guilty to Count 1 of the Information, charging your client with
Parading, Demonstrating, or Picketing in a CapitolBuilding, in violation of Title 40, United States
Code, Section 5 l0a(eX2XG).

       Your client understands that a violation of Title 40, United States Code, Section
5l0a(e)(2)(G) carries a maximum sentence of six (6) months of imprisonment, pursuant to 40
U.S.C. $ 5109(b); a term of probation of not more than five (5) years, pursuant to l8 U.S.C. $
3561(c); a fine of not more than $5,000, pursuant to l8 U.S.C. $ 3571(bX6); and an obligation to
pay any applicable interest or penalties on fines and restitution not timely made.

       In addition, pursuantto l8 U.S.C. $ 3013(aXlXAXii), your client agrees to pay a special
assessment of $ I 0 to the Clerk of the United States District Court for the District of Columbia.

       2-      Factual Stipulations




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